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      Jeffrey W. Shields, Bar No. 109920
 1    Rick A. Varner, Bar No. 160403
      Michael W. Buhrley, Bar No. 255203
 2
      SHIELDS LAW OFFICES
 3    1920 Main Street, Suite 1080
      Irvine, California 92614
 4    (949) 724-7900; Fax (949) 724-7905
                                                                         JS-6
      E-mail: jeff@shieldslawoffices.com
 5

 6    Attorneys For Plaintiffs And Counter-Defendants
      Waleed Al-Oboudi And Maria Amelia C. Chang
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 9                            UNITED STATES DISTRICT COURT

10                          CENTRAL DISTRICT OF CALIFORNIA

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12 WALEED AL-OBOUDI, et al.,                     Case No. CV07-3235 ABC (RZx)
13            Plaintiffs,                        ORDER ON STIPULATION FOR
                                                 DISMISSAL OF ENTIRE CASE WITH
14            vs.                                PREJUDICE
15 ROBERT KEITH FROOM, et al.,

16                                               [No Hearing Required]
              Defendants.
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21               WHEREAS, plaintiffs and counter-defendants WALEED AL-
22   OBOUDI and MARIA AMELIA C. CHANG (collectively, “Plaintiffs”) and
23   defendants and counter-claimants ROBERT KEITH FROOM, RK FROOM &
24   CO., INC. and CAROL FROOM (collectively, “Defendants”) having duly
25   submitted their “Stipulation For Dismissal Of Entire Case With
26   Prejudice” (the “Subject Stipulation”) in conjunction with their
27   entry into a written Settlement Agreement (the “Settlement
28   Agreement”); and

     18676
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 1              WHEREAS, the Court having reviewed the Subject

 2   Stipulation and good cause appearing therefore;

 3              NOW, THEREFORE, IT IS HEREBY ORDERED that:

 4              1.   The entirety of the Action, including without

 5   limitation, all claims by Plaintiffs and all counterclaims by

 6   Defendants, shall hereby be dismissed with prejudice; and

 7              2.   This Court shall nonetheless retain jurisdiction

 8   pursuant to the provisions of California Code of Civil Procedure

 9   section 664.6 to enforce all of the terms of the Settlement

10   Agreement between Plaintiffs and Defendants, should such

11   enforcement become necessary.

12   DATED:   February 18, 2009       _______________________________
                                      JUDGE OF THE UNITED STATES
13                                    DISTRICT COURT
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